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                            EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division



  UNITED STATES, et al.,

                                 Plaintiffs,

                 - against -                             Civil Action No. 1:23-cv-00108
                                                         (LMB) (JFA)
  GOOGLE LLC,

                                 Defendant.


                       DECLARATION OF ALEXANDER BERGERSEN

         I, Alexander Bergersen, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

     1. I am currently Competition Counsel at Google LLC (“Google”), located in New York,

 New York. Among other duties, I oversee the collection of data and other information responsive

 to regulatory requests for information and discovery requests in litigation involving Google’s

 display advertising business.

     2. In connection with those duties, I have personal knowledge of, among other areas: (i)

 individuals with knowledge of Google’s accounting practices and procedures; (ii) individuals with

 knowledge of Google’s product-level financial forecasting and planning; (iii) individuals with

 knowledge of Google’s advertising products at issue in this action, including, but not limited to,

 DoubleClick products, Google Ads, AdX, DFP, and AdMeld; (iv) and datasets collected in

 connection with with this action, including the datasets Plaintiffs list in Topic 8 of the Notice of

 Deposition served on August 9, 2023 (the “Notice”).

     3. Topic 1 of the Notice seeks testimony concerning multiple topics ranging from “means

 through which AdX submits bids to publishers that do not use DFP” to Google’s accounting
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 policies and procedures related to products Plaintiffs purport to be within “the DVAA and Core

 DVAA product groups,” including “AdX, AdSense, AFC, DFP, GAM, GDN, DBM,

 DBM-Non-Google, Ad Serving, Exchange Bidding, and DV360 and successor and predecessor

 products and services.” I am unaware of a single Google employee who already knows or could

 learn all of the topics and subtopics listed in Topic 1 of the Notice for the nine-year time period

 requested in the Notice by September 8, 2023.

     4. Topic 2 of the Notice seeks testimony related to Google’s cost-allocation methodology

 across “Google product areas such as DVAA, Search, Search Advertising, YouTube and [] Google

 reporting segments such as Google Services, Google Cloud, and Other Bets.” Topic 2 of the

 Notice also seeks testimony related to Google’s cost-allocation methodology “within Display

 Advertising Business Components to products and services, including AdX, AdSense, AFC, DFP,

 GAM, GDN, DBM, DBM-Non-Google, Ad Serving, Exchange Bidding, and DV360 and

 successor and predecessor products and services.” I am unaware of a single Google employee

 who already knows or could learn all of the topics and subtopics listed in Topic 2 of the Notice for

 the nine-year time period requested in the Notice by September 8, 2023.

     5. Topic 5 of the Notice seeks testimony related to financial forecasting and planning related

 to products Plaintiffs purport to be within “the DVAA and Core DVAA product groups,”

 including “AdX, AdSense, AFC, DFP, GAM, GDN, DBM, DBM-Non-Google, Ad Serving,

 Exchange Bidding, and DV360 and successor and predecessor products and services.” I am

 unaware of a single Google employee who already knows or could learn all of the topics and

 subtopics listed in Topic 5 of the Notice for the nine-year time period requested in the Notice by

 September 8, 2023.
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     6. Topic 8 of the Notice seeks testimony on datasets produced by Google in this action. I

 am unaware of a single Google employee who already knows or could learn all of the topics and

 subtopics listed in Topic 8 of the Notice for the nine-year time period requested in the Notice by

 September 8, 2023.

     7. Topic 17 of the Notice seeks testimony regarding the “nature, function, and operation” of

 Google’s digital advertising products and various innovations, including “DoubleClick products,”

 AdX, DFP, and AdMeld, Dynamic Allocation, Project Bell, Dynamic Revenue Share, Project

 Poirot, Project Bernanke, Project Alchemist, Unified Pricing Rules, and Smart Bidding. I am

 unaware of a single Google employee who already knows or could learn all of the topics and

 subtopics listed in Topic 17 of the Notice for the nine-year time period requested in the Notice by

 September 8, 2023.



  I declare under penalty of perjury that the foregoing is true and correct.



  Executed on August 18, 2023 in New York, New York.




  Alexander Bergersen
